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and Henry A. Snyder

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
In re: FOSAMAX (ALENDRONATE
SODIUM) PRODUCTS LIABILITY MDL No. 2243
LITIGATION Civ. Action No. 08-08(JAP/LHG)

 

Civ. No. 3:13-cv-02686
This Document Relates to:

NOTICE OF VOLUNTARY
ENR. fh SNYDER. DISMISSAL WITHOUT
, PREJUDICE PURSUANT TO
Plaintiffs, FEDERAL RULE OF CIVIL
Vs. . PROCEDURE 41(a)(1)(A)(i)
MERCK, SHARP & DOHME CORP.,
fik/a MERCK & CO., INC., a New Jersey
corporation, MERCK & CO., INC.,
a New Jersey corporation,
GLAXOSMITHKLINE, LLC, I err
a Delaware corporation, f)
GENENTECH, INC., a Delaware Ca

corporation, HOFFMANN-LA ROCHE,

INC., a New Jersey corporation, and or
ROCHE LABORATORIES, INC., .

a Delaware corporation,

 

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PLEASE TAKE NOTICE THAT pursuant to Federal Rule of Civil Procedure
41(a)(1)(AXi), Plaintiffs Janice L. Snyder and Henry A. Snyder voluntarily dismiss the
above-captioned action and Complaint without prejudice. The Defendants have not
served an answer or a motion for summary judgment. Plaintiffs above-named have not.
previously dismissed any federal- or state-court action based on or including the same

claims.

DATED: October 15, 2013 ROBINS, KAPLAN, MILLER & CIRESI L.L.P.

 

By: /s/ Troy F. Tatting
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Gary L. Wilson (#179012)
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CERTIFICATE OF SERVICE

I hereby certify that all defendants are being served this 15th day of October,
2013, with a copy of this document via ECF filing.

/s/ Troy F. Tattin
Troy F. Tatting

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